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                         Exhibit B

                    Proposed Final Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. __

                FINAL ORDER (I) AUTHORIZING THE DEBTORS
             TO (A) PAY PREPETITION WAGES, SALARIES, OTHER
       COMPENSATION, AND REIMBURSABLE EXPENSES AND (B) CONTINUE
      EMPLOYEE BENEFITS PROGRAMS, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”), (a) authorizing the

Debtors to (i) pay all prepetition wages, salaries, other compensation, and Reimbursable Expenses

on account of the Compensation and Benefits Programs and (ii) continue to administer the

Compensation and Benefits Programs in the ordinary course, including payment of prepetition

obligations related thereto; and (b) granting related relief, in each case in the ordinary course,

including payment of certain undisputed prepetition obligations related thereto, all as more fully

set forth in the Motion; and upon the First Day Declarations; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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and this Court having found that this Court may enter a final order consistent with Article III of

the United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate under the circumstances and

no other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, to continue, modify, change, and

discontinue the Compensation and Benefits Programs in the ordinary course during these

chapter 11 cases and without the need for further Court approval, subject to applicable law,

provided that the Debtors shall seek Court approval, upon a motion and notice, of any modification

that would implicate any portion of section 503(c) of the Bankruptcy Code, provided, further, that

except as expressly provided for otherwise herein, nothing in this Final Order shall, without prior

court approval, authorize the Debtors to (a) pay any amounts to insiders on account of any bonus,

retention, severance, or incentive programs, or (b) pay any amounts on account of the

Compensation and Benefits Programs outside the ordinary course.




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       3.      The Debtors are authorized, but not directed, to pay and honor prepetition amounts

outstanding under or related to the Compensation and Benefits Programs in the ordinary course in

an aggregate amount not to exceed the total amount reflected in the table following this paragraph,

pursuant to this Final Order.

   Prepetition Employee-Related Obligations                     Amount Requested
                                          Compensation
 Wages                                                                                  $8,725,000
 Temporary Workers Fees                                                                   $600,000
 Deductions and Withholdings                                                            $6,225,000
 Reimbursable Expenses                                                                    $375,000
 Collections Program                                                                       $55,000
 Subtotal                                                                              $15,980,000
                                              Benefits
 Health Plans and Additional Employee Benefits                                               TBD
 Paid Time Off and Other Leaves of Absence                                             $92,900,000
 Subtotal                                                                                    TBD
 Compensation and Benefits                                                                   TBD

       4.      The Debtors are authorized, but not directed, to forward any unpaid amounts on

account of Withholding and Deduction Obligations to the appropriate third-party recipients or

taxing authorities in the ordinary course.

       5.      The Debtors are authorized, but not directed, to (a) continue the Health Plans in the

ordinary course, (b) continue contributing to the Health Plans, and (c) pay any prepetition amounts

related thereto, including on account of any premiums, claim amounts, and administration fees to

the extent that they remain unpaid as of the Petition Date.

       6.      The Debtors are authorized, but not directed, to pay in the ordinary course any costs

and expenses incidental to payment of the Compensation and Benefits Programs obligations,

including the Unpaid Payroll Processing Fees, all administrative and processing costs, and

necessary payments to outside professionals.

       7.      The Debtors are authorized, but not directed, to (a) make ordinary course

postpetition payments on behalf of obligations, including any related fees, accrued postpetition in

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connection U.S. Severance Programs, WARN Obligations, the COBRA Benefits, and Canadian

Termination Obligations, as applicable; and (b) make postpetition payments, including any related

fees, on account of obligations, if any, that accrued prepetition in connection with the COBRA

Benefits, WARN Obligations, or Canadian Termination Obligations, in each case to the extent

required pursuant to applicable law; provided, however, for the avoidance of doubt, that the

WARN Obligations only encompass the noticing costs and administrative costs to be paid by the

Debtors in connection therewith and not the payment of any amounts which may be owed to

Employees or Former Employees.

       8.      The Debtors are authorized, but not directed, to continue to honor and pay PTO in

the ordinary course on a postpetition basis, including making any cash-out payments of

Employees’ or Former Employees’ earned but unused PTO, which accrued prepetition, regardless

of any limitations under section 503(c)(2) of the Bankruptcy Code; provided that the Debtors shall

not make any such payments to Former Employees on account of PTO until the payment in full of

the Debtors’ secured debt obligations.

       9.      The Debtors are authorized, but not directed, to pay in the ordinary course any

postpetition Non-Employee Director Fees.

       10.     Nothing herein shall be deemed to authorize the payment of any amounts that

violates or implicates section 503(c) of the Bankruptcy Code; provided that nothing herein shall

prejudice the Debtors’ ability to seek approval of relief pursuant to section 503(c) of the

Bankruptcy Code by separate motion at a later time.

       11.     Nothing contained herein is intended or should be construed to create an

administrative priority claim on account of the Compensation and Benefits Programs obligations.




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       12.     Nothing contained in the Motion or this Final Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Final

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount,

validity or priority of, or basis for any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Final

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

       13.     Notwithstanding anything to the contrary in this Final Order, any payment made,

or authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases

       14.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.




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       15.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Final Order are immediately effective and enforceable upon its entry.

       17.     The Debtors are authorized, but not directed, to take all actions necessary to

effectuate the relief granted in this Final Order in accordance with the Motion.

       18.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




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